                                Case 3:19-bk-04091-JAF                  Doc 1         Filed 10/25/19           Page 1 of 38

Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      12
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Waldron Produce Farms Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  17750 N. US HWY. 301                                            PO BOX 248
                                  Citra, FL 32113                                                 Citra, FL 32113-0248
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Marion                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                 Case 3:19-bk-04091-JAF                     Doc 1         Filed 10/25/19              Page 2 of 38
Debtor    Waldron Produce Farms Inc.                                                                   Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                               Case 3:19-bk-04091-JAF                      Doc 1        Filed 10/25/19            Page 3 of 38
Debtor   Waldron Produce Farms Inc.                                                                Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                              Case 3:19-bk-04091-JAF                     Doc 1         Filed 10/25/19             Page 4 of 38
Debtor    Waldron Produce Farms Inc.                                                               Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 25, 2019
                                                  MM / DD / YYYY


                             X   /s/ Hoyt E. Waldron Sr.                                                  Hoyt E. Waldron Sr.
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   PTD




18. Signature of attorney    X   /s/ Richard A. Perry                                                      Date October 25, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Richard A. Perry 394520
                                 Printed name

                                 Richard A. Perry, P.A.
                                 Firm name

                                 820 E. Fort King Street
                                 Ocala, FL 34471
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     352-732-2299                  Email address      richard@rapocala.com

                                 394520 FL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                                 Case 3:19-bk-04091-JAF                           Doc 1        Filed 10/25/19           Page 5 of 38




 Fill in this information to identify the case:

 Debtor name         Waldron Produce Farms Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                              12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          October 25, 2019                        X /s/ Hoyt E. Waldron Sr.
                                                                       Signature of individual signing on behalf of debtor

                                                                       Hoyt E. Waldron Sr.
                                                                       Printed name

                                                                       PTD
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                                       Case 3:19-bk-04091-JAF                                          Doc 1              Filed 10/25/19                         Page 6 of 38
 Fill in this information to identify the case:

 Debtor name            Waldron Produce Farms Inc.

 United States Bankruptcy Court for the:                       MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $           410,410.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        1,519,797.39

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        1,930,207.39


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        2,914,243.94


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           716,051.72


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           3,630,295.66




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
                                 Case 3:19-bk-04091-JAF                     Doc 1      Filed 10/25/19           Page 7 of 38
 Fill in this information to identify the case:

 Debtor name         Waldron Produce Farms Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     COMMUNITY BANK ACCT # 2375                              CHECKING                                                                $95,253.10




           3.2.     PNC BANK ACCT ...3802                                   CHECKING                        3802                                       $260.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                     $95,513.10
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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                                 Case 3:19-bk-04091-JAF                          Doc 1     Filed 10/25/19            Page 8 of 38

 Debtor         Waldron Produce Farms Inc.                                                         Case number (If known)
                Name


           11a. 90 days old or less:                                 22,700.00   -                                0.00 = ....          $22,700.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  9,475.00   -                                0.00 = ....            $9,475.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  3,600.00   -                                0.00 = ....            $3,600.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 14,900.00   -                                0.00 = ....          $14,900.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  6,000.00   -                                0.00 = ....            $6,000.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 22,655.00   -                                0.00 = ....          $22,655.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  9,760.00   -                                0.00 = ....            $9,760.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  2,075.00   -                                0.00 = ....            $2,075.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  3,200.00   -                                0.00 = ....            $3,200.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  1,000.00   -                                0.00 = ....            $1,000.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 21,710.00   -                                0.00 = ....          $21,710.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 11,160.00   -                                0.00 = ....          $11,160.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 92,390.00   -                                0.00 = ....          $92,390.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   320.00    -                                0.00 = ....              $320.00
                                              face amount                            doubtful or uncollectible accounts

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
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                                 Case 3:19-bk-04091-JAF                          Doc 1        Filed 10/25/19            Page 9 of 38

 Debtor         Waldron Produce Farms Inc.                                                            Case number (If known)
                Name




           11a. 90 days old or less:                                  3,000.00   -                                   0.00 = ....                   $3,000.00
                                              face amount                               doubtful or uncollectible accounts



           11a. 90 days old or less:                                 15,400.00   -                                   0.00 = ....                 $15,400.00
                                              face amount                               doubtful or uncollectible accounts



           11a. 90 days old or less:                                  4,500.00   -                                   0.00 = ....                   $4,500.00
                                              face amount                               doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                                 $243,845.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.

           General description                                                       Net book value of         Valuation method used   Current value of
                                                                                     debtor's interest         for current value       debtor's interest
                                                                                     (Where available)

 28.       Crops-either planted or harvested
           125 ACRES PLANTED PEANUTS IN
           HAWTHORNE                                                                                $0.00                                          Unknown


           30 ACRES PLANTED IN ANTHONY                                                              $0.00                                          Unknown



 29.       Farm animals Examples: Livestock, poultry, farm-raised fish

 30.       Farm machinery and equipment (Other than titled motor vehicles)
           2002 JOHN DEERE EXCAVATOR, 1988 JOHN
           DEERE SELF LOADING                                                                       $0.00                                        $61,120.29




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                          page 3
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                               Case 3:19-bk-04091-JAF                       Doc 1     Filed 10/25/19       Page 10 of 38

 Debtor         Waldron Produce Farms Inc.                                                   Case number (If known)
                Name

           3355 PEANUT COMBINE, SEVEN TOWER
           ZIMMATIC IRRIGATION PIVOT, 07
           INTERNATIONAL 9400I, 140 FARMALL, 2755
           JOHN DEERE, 5083E JOHN DEERE, 7830
           JOHN DEERE, 1000 GALLON PULL SPRAYER,
           LILLISTON 6 ROW CULTIVATOR, 4 ROW KMC
           DIGGER, DIVERSIFIED SPREADER, 4955
           JOHN DEERE, 6068 JOHN DEERE, 2
           TURBAND H EAD GEAR, ISUZA GENERATOR,
           862B JOHN DEERE SCRAPER, FIVE TOWER
           VALLEY, EIGHT TOWER VALLEY, MX7
           MOWER, HX14 MOVER, 650J DOZER, 544 E
           LOADER, 544H LOADER, 310 E BACH HOE,
           200 LC EXCAVATOR, KMC FIELD
           CULTIVATOR, 2 KMC FIELD CULTIVATOR,
           1700 JOHN DEERE TWIN ROW PLANTER,
           JOHN DEERE MAX EMERGE PLANTER, 4610
           JOHN DEERE TRACTOR, 1994 INTERNATINAL
           4900 FLATBED, 2004 NTERNATIONAL 4700
           FLATBED, 2 48FT ALUMINUM FLAT BEDS, 48
           FT FONTAINE, ALLIS CHALMERS FORKLIFT
           705C , 6 SET DUALS, LOWBOY 53FT, 4 FARM
           SERIES TRUCK, 2 CATIPLLAR FORKLIFTS,
           TOYOTA FORKLIFT, 8 PURELESS PEANUT
           DRIVING WAGONS , 2 ROW PPLANTER JR, 4
           BOTTOM JD TURNPLAW, 2 S TINES 6 ROW
           CULTIVATOR, 2 FIELD CULTIVATOR WITH
           ROLLING BASKETS, 7 REF TRAILERS, 3
           NURSE TANKS, GOOSENECK 25FT TRAILER,2
           AXLW FLAT BED 24 FT, 30FT FIELD ROLLER,
           4 CYN JD POWER UNIT CEN PUMP, 8 FT MF
           GRAIN DRILL
           10 FT 2-10 JD HARROW, 15000 15000 FT 6
           INCH AND 8 INCH ALUMINUM PIPES, 6 PIPE
           WAGONS, 15 FT CATTLE TRAILER DUAL
           AXEL, 5 ANTIQUE JD ANF FARM TRAILERS, 2
           ANITQUE TRUCKS , INTERNATIONAL DUMP                                              $0.00                              $912,817.00


           2 CHEVT DUMP TRUCKS                                                              $0.00                                  $6,000.00



 31.       Farm and fishing supplies, chemicals, and feed
           BAILEY SEED 152 BAGS, VALENCIA SEED
           990 BAGS, WEAT SEED 80 BAGS, RYE SEED,
           50 SEED, BUTTER BEAN SEED 15 BAGS, PEA
           SEED 30 BAGS, WHEAT BAG 120 BAG, NO
           NAME BAGS 4000, STRIP SHARE 2025, WOOD
           GRATES 640, JUMBO BAGS 3000, PEANUT
           BAGS 8000, Y4 BAGS 3700, SHRINK WRAP 9
           BOXES, FLAPS 750, 2 LB 88000                                                     $0.00                               $169,502.00



 32.       Other farming and fishing-related property not already listed in Part 6

 33.       Total of Part 6.                                                                                                $1,149,439.29
           Add lines 28 through 32. Copy the total to line 85.

 34.       Is the debtor a member of an agricultural cooperative?
               No
               Yes. Is any of the debtor's property stored at the cooperative?
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 4
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                               Case 3:19-bk-04091-JAF                         Doc 1      Filed 10/25/19        Page 11 of 38

 Debtor         Waldron Produce Farms Inc.                                                       Case number (If known)
                Name


                            No
                            Yes

 35.       Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                        Current Value

 36.       Is a depreciation schedule available for any of the property listed in Part 6?
               No
               Yes

 37.       Has any of the property listed in Part 6 been appraised by a professional within the last year?
               No
               Yes

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used   Current value of
                                                                                 debtor's interest      for current value       debtor's interest
                                                                                 (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           1 DESKTOP COMPUTER, 4 DESK AND
           CHAIRS, 4 FILE CABINETS                                                             $0.00                                        $1,000.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                $1,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers                 debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                         (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 5
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                               Case 3:19-bk-04091-JAF                         Doc 1    Filed 10/25/19        Page 12 of 38

 Debtor         Waldron Produce Farms Inc.                                                     Case number (If known)
                Name

            47.1.    2012 CHEVY TK VIN #
                     1GC1KXC87CF156630                                                       $0.00                                        $30,000.00



 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)

 51.        Total of Part 8.                                                                                                           $30,000.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and           Net book value of       Valuation method used   Current value of
            property                                      extent of            debtor's interest       for current value       debtor's interest
            Include street address or other               debtor's interest    (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. 7900 E HWY 318
                     CITRA FL 32113-0248
                     PARCEL ID #
                     04424-001-00                                                            $0.00                                       $410,410.00




 56.        Total of Part 9.                                                                                                           $410,410.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 6
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                               Case 3:19-bk-04091-JAF                       Doc 1     Filed 10/25/19          Page 13 of 38

 Debtor         Waldron Produce Farms Inc.                                                   Case number (If known)
                Name



        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 7
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                                  Case 3:19-bk-04091-JAF                                 Doc 1            Filed 10/25/19               Page 14 of 38

 Debtor          Waldron Produce Farms Inc.                                                                          Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $95,513.10

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $243,845.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                  $1,149,439.29

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $1,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $30,000.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                        $410,410.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $1,519,797.39            + 91b.              $410,410.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,930,207.39




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 8
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
                                    Case 3:19-bk-04091-JAF                       Doc 1          Filed 10/25/19       Page 15 of 38
 Fill in this information to identify the case:

 Debtor name         Waldron Produce Farms Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
       DRUMMOND COMMUNITY
 2.1                                                                                                                       $187,548.77               $410,410.00
       BANK                                           Describe debtor's property that is subject to a lien
       Creditor's Name                                7900 E HWY 318 CITRA FL 32113-0248
                                                      PARCEL ID # 04424-001-00
       1627 N YOUNG BLVD
       Chiefland, FL 32626
       Creditor's mailing address                     Describe the lien
                                                      MORTGAGE
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0100
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       FINANCIAL PACIFIC
 2.2                                                                                                                         $61,120.29                $61,120.29
       LEASING                                        Describe debtor's property that is subject to a lien
       Creditor's Name                                2002 JOHN DEERE EXCAVATOR, 1988 JOHN
                                                      DEERE SELF LOADING
       3455 S. 344TH WAY # 300
       Auburn, WA 98001-9546
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply


Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                                    Case 3:19-bk-04091-JAF                       Doc 1          Filed 10/25/19          Page 16 of 38
 Debtor       Waldron Produce Farms Inc.                                                                Case number (if know)
              Name

           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.



 2.3   PNC BANK                                       Describe debtor's property that is subject to a lien                      $2.00         $1.00
       Creditor's Name                                1
       ASSET RESOLUTION
       TEAM
       201 E PINE ST STE 200
       Orlando, FL 32801-2715
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
                                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.



 2.4   PNC BANK                                       Describe debtor's property that is subject to a lien                      $2.00         $1.00
       Creditor's Name                                2
       ASSET RESOLUTION
       TEAM
       201 E PINE ST STE 200
       Orlando, FL 32801-2715
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
                                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.



 2.5   PNC BANK                                       Describe debtor's property that is subject to a lien                      $2.00         $1.00
       Creditor's Name                                1
       ASSET RESOLUTION
       TEAM
       201 E PINE ST STE 200
       Orlando, FL 32801-2715
       Creditor's mailing address                     Describe the lien



Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                           page 2 of 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
                                     Case 3:19-bk-04091-JAF                      Doc 1          Filed 10/25/19               Page 17 of 38
 Debtor       Waldron Produce Farms Inc.                                                               Case number (if know)
              Name

                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 2.6    PNC BANK                                      Describe debtor's property that is subject to a lien                     $2,665,568.88       $912,817.00
        Creditor's Name                               3355 PEANUT COMBINE, SEVEN TOWER
                                                      ZIMMATIC IRRIGATION PIVOT, 07
                                                      INTERNATIONAL 9400I, 140 FARMALL, 2755
                                                      JOHN DEERE, 5083E JOHN DEERE, 7830
        ASSET RESOLUTION                              JOHN DEERE, 1000 GALLON PULL
        TEAM                                          SPRAYER, LILLISTON 6 ROW CULTIVATOR,
        201 E PINE ST STE 200                         4 ROW KMC DIGGER, DIVERSIFIED SPREAD
        Orlando, FL 32801-2715
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



                                                                                                                                $2,914,243.9
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                          4

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         KIMBERLY LOPEZ
         ACKERMAN LLP                                                                                           Line   2.6
         420SOUTH ORANGE AVE
         SUITE 1200
         Orlando, FL 32801

         PNC BANK
         P.O. BOX 489909                                                                                        Line   2.6
         Charlotte, NC 28269-5329

Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 3 of 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
                               Case 3:19-bk-04091-JAF                 Doc 1      Filed 10/25/19          Page 18 of 38
 Debtor       Waldron Produce Farms Inc.                                                 Case number (if know)
              Name




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property              page 4 of 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                       Best Case Bankruptcy
                                  Case 3:19-bk-04091-JAF                      Doc 1          Filed 10/25/19                 Page 19 of 38
 Fill in this information to identify the case:

 Debtor name         Waldron Produce Farms Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $28,519.79
           BLUE VINE                                                            Contingent
           401 WARREN STREET                                                    Unliquidated
           Redwood City, CA 94063                                               Disputed
           Date(s) debt was incurred 2019
                                                                             Basis for the claim:    LOAN
           Last 4 digits of account number      XXXX
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $207,975.50
           BRYSON FARMS                                                         Contingent
           PO BOX 2831                                                          Unliquidated
           Labelle, FL 33975                                                    Disputed
           Date(s) debt was incurred     2019                                Basis for the claim:    SERVICES
           Last 4 digits of account number      XXXX
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $50,511.00
           CHEDDAR CAPITAL                                                      Contingent
           PO BOX 770631                                                        Unliquidated
           Memphis, TN 38177                                                    Disputed
           Date(s) debt was incurred     2019                                Basis for the claim:    LOAN
           Last 4 digits of account number      3887
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $51,298.00
           GUY MADDOX                                                           Contingent
           PO BOX 1812                                                          Unliquidated
           Bushnell, FL 33513
                                                                                Disputed
           Date(s) debt was incurred     2019
                                                                             Basis for the claim:    SERVICES RENDERED
           Last 4 digits of account number      XXXX
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                         35096                                            Best Case Bankruptcy
                               Case 3:19-bk-04091-JAF                         Doc 1          Filed 10/25/19                 Page 20 of 38
 Debtor       Waldron Produce Farms Inc.                                                              Case number (if known)
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $737.56
          IRS                                                                   Contingent
          P.O. BOX 7346                                                         Unliquidated
          Philadelphia, PA 19101-7346                                           Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    941 TAXES
          Last 4 digits of account number 9838
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $215.30
          IRS                                                                   Contingent
          P.O. BOX 7346                                                         Unliquidated
          Philadelphia, PA 19101-7346                                           Disputed
          Date(s) debt was incurred 2017
                                                                             Basis for the claim:    941 TAXES
          Last 4 digits of account number 9838
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,155.79
          IRS                                                                   Contingent
          P.O. BOX 7346                                                         Unliquidated
          Philadelphia, PA 19101-7346                                           Disputed
          Date(s) debt was incurred 2016
                                                                             Basis for the claim:    941 TAXES
          Last 4 digits of account number 9838
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,313.64
          LOVETT IRRIGATION                                                     Contingent
          17902 US 441                                                          Unliquidated
          Reddick, FL 32686                                                     Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    IRRIGATION SERVICES
          Last 4 digits of account number       3222
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $54,119.00
          NEW LOGIC BUSINESS LOAN                                               Contingent
          300 LEDGEWOOD PL                                                      Unliquidated
          Rockland, MA 02370                                                    Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    LOAN
          Last 4 digits of account number 3887
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $204,191.00
          NUTRIEN AG SOLUTION                                                   Contingent
          PO BOX 906                                                            Unliquidated
          Hastings, FL 32145                                                    Disputed
          Date(s) debt was incurred 2015
                                                                             Basis for the claim:    MATERIAL AND SUPPLIES
          Last 4 digits of account number       9692
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $74,078.00
          READY ROAST                                                           Contingent
          PO BOX 390                                                            Unliquidated
          Portales, NM 88130                                                    Disputed
          Date(s) debt was incurred      2019                                Basis for the claim:    SERVICES RENDERED
          Last 4 digits of account number       XXXX
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 2 of 3
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                               Case 3:19-bk-04091-JAF                         Doc 1          Filed 10/25/19                 Page 21 of 38
 Debtor       Waldron Produce Farms Inc.                                                              Case number (if known)
              Name

 3.12      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $15,590.00
           RUSSO PACKAGING                                                      Contingent
           2525 ALLUVIAL AVENUE                                                 Unliquidated
           Clovis, CA 93611                                                     Disputed
           Date(s) debt was incurred 2019
                                                                             Basis for the claim:    SUPPLIES
           Last 4 digits of account number      4010
                                                                             Is the claim subject to offset?       No     Yes

 3.13      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $14,347.14
           TCM BANK                                                             Contingent
           2701 N ROCKY POINT DR                                                Unliquidated
           STE 700                                                              Disputed
           Tampa, FL 33607
                                                                             Basis for the claim:    CREDIT CARD
           Date(s) debt was incurred 2017
           Last 4 digits of account number      5918                         Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                             0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                       716,051.72

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                          716,051.72




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
                               Case 3:19-bk-04091-JAF                   Doc 1      Filed 10/25/19            Page 22 of 38
 Fill in this information to identify the case:

 Debtor name         Waldron Produce Farms Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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                               Case 3:19-bk-04091-JAF                  Doc 1     Filed 10/25/19           Page 23 of 38
 Fill in this information to identify the case:

 Debtor name         Waldron Produce Farms Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      HOYT E                            22011 NE 80TH STREET                              PNC BANK                           D   2.6
             WALDRON JR                        Citra, FL 32113                                                                      E/F
                                                                                                                                    G




    2.2      HOYT E                            22011 NE 80TH STREET                              DRUMMOND                           D   2.1
             WALDRON JR                        Citra, FL 32113                                   COMMUNITY BANK                     E/F
                                                                                                                                    G




    2.3      HOYT E                            22011 NE 80TH STREET                              FINANCIAL PACIFIC                  D   2.2
             WALDRON JR                        Citra, FL 32113                                   LEASING                            E/F
                                                                                                                                    G




    2.4      HOYT E                            17750 N US HWY 301                                PNC BANK                           D   2.6
             WALDRON SR                        Citra, FL 32113                                                                      E/F
                                                                                                                                    G




    2.5      HOYT E                            17750 N US HWY 301                                FINANCIAL PACIFIC                  D   2.2
             WALDRON SR                        Citra, FL 32113                                   LEASING                            E/F
                                                                                                                                    G




Official Form 206H                                                       Schedule H: Your Codebtors                                           Page 1 of 2
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 Debtor       Waldron Produce Farms Inc.                                               Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.6      HOYT WALDRON                      PO BOX 248                                   TCM BANK                        D
             SR                                Citra, FL 32113-0248                                                         E/F       3.13
                                                                                                                            G




    2.7      HOYT WALDRON                      PO BOX 248                                   DRUMMOND                        D   2.1
             SR                                Citra, FL 32113-0248                         COMMUNITY BANK                  E/F
                                                                                                                            G




    2.8      TINA WALDRON                      PO BOX 1078                                  PNC BANK                        D   2.6
                                               Citra, FL 32113                                                              E/F
                                                                                                                            G




    2.9      TINA WALDRON                      PO BOX 1078                                  DRUMMOND                        D   2.1
                                               Citra, FL 32113                              COMMUNITY BANK                  E/F
                                                                                                                            G




    2.10     TINA WALDRON                      PO BOX 1078                                  FINANCIAL PACIFIC               D   2.2
                                               Citra, FL 32113                              LEASING                         E/F
                                                                                                                            G




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 Fill in this information to identify the case:

 Debtor name         Waldron Produce Farms Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                             $1,554,677.86
       From 1/01/2019 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                             $2,219,621.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $2,566,103.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               NUTRIEN AG SOLUTION                                         7/14/19,7/18/                    $30,027.50           Secured debt
               PO BOX 1888                                                 19,8/2/19,9/9/                                        Unsecured loan repayments
               Anthony, FL 32617                                           19,9/16/19,
                                                                                                                                 Suppliers or vendors
                                                                           7/15/19
                                                                                                                                 Services
                                                                                                                                 Other


       3.2.
               BRYSON FARMS                                                7/15/19,8/2/1                    $81,732.00           Secured debt
               PO BOX 2831                                                 9,8/22/19,8/2                                         Unsecured loan repayments
               Labelle, FL 33975                                           6/19,8/30/19,
                                                                                                                                 Suppliers or vendors
                                                                           9/2/19,9/3/19,
                                                                                                                                 Services
                                                                                                                                 Other


       3.3.
               LOVETT IRRIGATION                                           7/24/19                            $8,155.57          Secured debt
               17902 US 441                                                                                                      Unsecured loan repayments
               Reddick, FL 32686                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.4.
               GUY MADDOX                                                  8/19/19                            $5,000.00          Secured debt
               PO BOX 1812                                                                                                       Unsecured loan repayments
               Bushnell, FL 33513
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.5.
               READY ROAST                                                 8/19/19                            $5,000.00          Secured debt
               PO BOX 390                                                                                                        Unsecured loan repayments
               Portales, NM 88130
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.6.
               DRUMMOND COMMUNITY BANK                                     7/30/19                            $2,101.43          Secured debt
               P.O. BOX 788                                                                                                      Unsecured loan repayments
               Williston, FL 32696
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.



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           None

       Creditor's name and address                               Describe of the Property                                      Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case               Court or agency's name and              Status of case
               Case number                                                                    address
       7.1.    PNC BANK V WALRON                                 FORECLOSURE                  United States Attorney                      Pending
               PRODUCE FARMS, et al                                                           Middle District of Florida                  On appeal
               5-19-cv-00549-JSM-PRL                                                          400 North Tampa Street
                                                                                                                                          Concluded
                                                                                              Suite 3200
                                                                                              Tampa, FL 33602-4708


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                            Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy


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    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates              Total amount or
                the transfer?                                                                                                                              value
                Address
       11.1.    RICHARD A. PERRY
                820 EAST FORT KING
                STREET                                                                                                         October 10,
                Ocala, FL 34471-2320                                                                                           2019                     $5,275.00

                Email or website address
                richard@rapocala.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

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 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was           Last balance
               Address                                           account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred
       18.1.     DRUMMOND COMMUNITY                              XXXX-0132                   Checking                 10/23/2019                     Unknown
                 BANK                                                                        Savings
                                                                                                                      TRANSFERRED
                 P.O. BOX 788                                                                                         TO COMMUNITY
                                                                                             Money Market
                 Williston, FL 32696                                                                                  BANK
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:      Details About Environment Information
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For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       MICHAEL METZLER                                                                                                            2000-2019
                    PO BOX 357295
                    Gainesville, FL 32635
       26a.2.       TERRY POSEY                                                                                                                2019-PRESENT
                    PO BOX 946
                    Citra, FL 32113




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       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.3.       CAREY WAGGONER                                                                                                       6/2019-9/2019
                    P.0. BOX 3568 2820 SE LAKE W
                    Ocala, FL 34478

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       HOYT E WALDRON SR                              17750 N US HWY 301                                  OWNER                                 33 1/3
                                                      Citra, FL 32113

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       HOYT E WALDRON JR                              22011 NE 80TH STREET                                OWNER                                 33 1/3
                                                      Citra, FL 32113

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       JACQUELINE C WALDRON                           P O BOX 1078                                        OWNER                                 33 1/3
                                                      Citra, FL 32113



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,

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    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates            Reason for
                                                                 property                                                                 providing the value
       30.1 FARM BOYS FARM
       .    PO BOX 1094
               Citra, FL 32113                                   8550.00                                                 11/28/18         SUPPLIES

               Relationship to debtor
               NEWPHEW


       30.2 TINA WALDRON
       .    PO BOX 1078
               Citra, FL 32113                                   33850.00                                                                 DRAW

               Relationship to debtor
               OWNER


       30.3 WALDRON SONS FARMS
       .    PO BOX 1094                                                                                                  1/29/19,9/19/1   CROPS
               Citra, FL 32113                                   218812                                                  9,10/04/19       PURCHASED

               Relationship to debtor
               NEPHEW


       30.4 ROBERTA WALDRON
       .    PO BOX 207
               Citra, FL 32113                                   5547.62                                                                  SALARY

               Relationship to debtor
               AUNT


       30.5 CHARLES WALDRON
       .    PO BOX 207                                                                                                                    FRIEGHT
               Citra, FL 32113                                   8730.00                                                                  SERVICES

               Relationship to debtor
               BROTHER


       30.6 HOYT E WALDRON JR
       .    22011 NE 80TH STREET
               Citra, FL 32113                                   200.00                                                  9/27/19          DRAW

               Relationship to debtor
               OWNER


       30.7 TINA WALDRON
       .    PO BOX 1078
               Citra, FL 32113                                   52000.00                                                10/18-10/19      SALARY

               Relationship to debtor
               OWNER




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               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.8 HOYT E WALDRON JR
       .    22011 NE 80TH STREET
               Citra, FL 32113                                   52000.00                                                10/18-10/-19      SALARY

               Relationship to debtor
               OWNER


       30.9 RENEE ROPER
       .    PO BOX 625                                                                                                   9/19/19,9/27/1
               Citra, FL 32113                                   400.00                                                  9                 PAY

               Relationship to debtor
               DAUGHTER


       30.1 KELSI ROPER
       0.   PO BIX 625
               Citra, FL 32113                                   430.00                                                  8/12/2019         LOAN

               Relationship to debtor
               GRANDAUGHTER


       30.1 REBECCA WALDRON
       1.   22011 NE 80TH AVE
               Citra, FL 32113                                   300.00                                                  9/27/19           LABOR

               Relationship to debtor
               GRANDDAUGHTER


       30.1 WYATT WALDRON
       2.   22011 NE 80TH AVE                                                                                            7/18/19,9/27/1
               Citra, FL 32113                                   1139.25                                                 9                 PAY

               Relationship to debtor
               GRANDSON


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




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 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         October 25, 2019

 /s/ Hoyt E. Waldron Sr.                                                Hoyt E. Waldron Sr.
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         PTD

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                               United States Bankruptcy Court
                                                                     Middle District of Florida
 In re      Waldron Produce Farms Inc.                                                                Case No.
                                                                                 Debtor(s)            Chapter    12




                                               VERIFICATION OF CREDITOR MATRIX


I, the PTD of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the

best of my knowledge.




 Date:       October 25, 2019                                         /s/ Hoyt E. Waldron Sr.
                                                                      Hoyt E. Waldron Sr./PTD
                                                                      Signer/Title




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Waldron Produce Farms Inc.           HOYT E WALDRON SR                     READY ROAST
PO BOX 248                           17750 N US HWY 301                    PO BOX 390
Citra, FL 32113-0248                 Citra, FL 32113                       Portales, NM 88130



Richard A. Perry                     HOYT WALDRON SR                       RUSSO PACKAGING
Richard A. Perry, P.A.               PO BOX 248                            2525 ALLUVIAL AVENUE
820 E. Fort King Street              Citra, FL 32113-0248                  Clovis, CA 93611
Ocala, FL 34471


BLUE VINE                            IRS                                   TCM BANK
401 WARREN STREET                    P.O. BOX 7346                         2701 N ROCKY POINT DR
Redwood City, CA 94063               Philadelphia, PA 19101-7346           STE 700
                                                                           Tampa, FL 33607


BRYSON FARMS                         KIMBERLY LOPEZ                        TINA WALDRON
PO BOX 2831                          ACKERMAN LLP                          PO BOX 1078
Labelle, FL 33975                    420SOUTH ORANGE AVE                   Citra, FL 32113
                                     SUITE 1200
                                     Orlando, FL 32801

CHEDDAR CAPITAL                      LOVETT IRRIGATION
PO BOX 770631                        17902 US 441
Memphis, TN 38177                    Reddick, FL 32686



DRUMMOND COMMUNITY BANK              NEW LOGIC BUSINESS LOAN
1627 N YOUNG BLVD                    300 LEDGEWOOD PL
Chiefland, FL 32626                  Rockland, MA 02370



FINANCIAL PACIFIC LEASING            NUTRIEN AG SOLUTION
3455 S. 344TH WAY # 300              PO BOX 906
Auburn, WA 98001-9546                Hastings, FL 32145



GUY MADDOX                           PNC BANK
PO BOX 1812                          ASSET RESOLUTION TEAM
Bushnell, FL 33513                   201 E PINE ST STE 200
                                     Orlando, FL 32801-2715


HOYT E WALDRON JR                    PNC BANK
22011 NE 80TH STREET                 P.O. BOX 489909
Citra, FL 32113                      Charlotte, NC 28269-5329
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Middle District of Florida
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                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  5,000.00
             Prior to the filing of this statement I have received                                        $                  5,000.00
             Balance Due                                                                                  $                       0.00

2.     $    275.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.   [Other provisions as needed]
                 DEBTOR HAS AGREED TO COMPENSATE THE ATTORNEY AT THE RATE OF $300.00 PER HOUR FOR SERVICES
                 RENDERED. THE ATTORNEY W FILE APPLICATION FOR SERVICES RENDERED THROUGH THE DATE OF
                 CONFIRMATION. ANY AMOUNTS IN EXCESS OF THE $5,000.00 RETAINER WIILL BE PAID THROUGH THE PLAN,
                 UNLESS OTHERWISE ALLOWED BY THE COURT.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                         CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     October 25, 2019                                                           /s/ Richard A. Perry
     Date                                                                       Richard A. Perry 394520
                                                                                Signature of Attorney
                                                                                Richard A. Perry, P.A.
                                                                                820 E. Fort King Street
                                                                                Ocala, FL 34471
                                                                                352-732-2299
                                                                                richard@rapocala.com
                                                                                Name of law firm




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                                                               United States Bankruptcy Court
                                                                     Middle District of Florida
 In re      Waldron Produce Farms Inc.                                                                 Case No.
                                                                                  Debtor(s)            Chapter    12




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Waldron Produce Farms Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 October 25, 2019                                                    /s/ Richard A. Perry
 Date                                                                Richard A. Perry 394520
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Waldron Produce Farms Inc.
                                                                     Richard A. Perry, P.A.
                                                                     820 E. Fort King Street
                                                                     Ocala, FL 34471
                                                                     352-732-2299
                                                                     richard@rapocala.com




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